                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

INTERNATIONAL BUSINESS MACHINES                     )
CORPORATION,                                        )
                                                    )
                       Plaintiff,                   )   C.A. No. 16-122-LPS
                                                    )
       v.                                           )   JURY TRIAL DEMANDED
                                                    )
GROUPON, INC.                                       )
                                                    )
                       Defendant.                   )

   STIPULATION AND [PROPOSED] ORDER TO AMEND SCHEDULING ORDER

       Plaintiff International Business Machines Corporation (“IBM”) and Defendant Groupon,

Inc. (“Groupon”) jointly stipulate, subject to the approval of the Court, that the schedule set forth

in this Court’s Scheduling Order (D.I. 17), as amended July 31, 2017 (D.I. 118), is further

amended as follows to permit the parties to accommodate all previously noticed fact depositions

within the fact discovery period:



            Event                          Current Date                      Revised Date

Close of fact discovery                 September 8, 2017           September 15, 2017
Opening expert reports                  September 29, 2017          October 6, 2017
Rebuttal expert reports                  October 27, 2017           November 3, 2017
Reply expert reports                    November 17, 2017           November 22, 2017


       All other deadlines and provisions in the Scheduling Order (D.I. 17) remain unchanged.
 POTTER ANDERSON & CORROON LLP                 ASHBY & GEDES

 By: /s/ Stephanie E. O’Byrne                  By: /s/ John G. Day
     David E. Moore (#3983)                        John G. Day (#2403)
     Bindu A. Palapura (#5370)                     Andrew C. Mayo (#5207)
     Stephanie E. O’Byrne (#4446)                  500 Delaware Avenue, 8th Floor
     Hercules Plaza, 6th Floor                     P.O. Box 1150
     1313 N. Market Street                         Wilmington, DE 19899
     Wilmington, DE 19801                          Tel: (302) 654-1888
     Tel: (302) 984-6000                           jday@ashby-geddes.com
     dmoore@potteranderson.com                    amayo@ashby-geddes.com
     bpalapura@potteranderson.com
     sobyrne@potteranderson.com

 Of Counsel:                                   Of Counsel:
 John M. Desmarais                             J. David Hadden
 Karim Z. Oussayef                             Saina S. Shamilov
 Laurie Stempler                               Phillip J. Haack
 Robert C. Harrits                             Adam M. Lewin
 Brian D. Matty                                FENWICK & WEST LLP
 Michael Matulewicz-Crowley                    555 California Street, 12th Floor
 DESMARAIS LLP                                 San Francisco, CA 94104
 230 Park Avenue                               Tel: (415) 875-2300
 New York, NY 10169
 Tel: (212) 351-3400                           Attorneys for Defendant Groupon, Inc.

 Attorneys for Plaintiff International
 Business Machines Corporation

Dated: September 6, 2017
5382599/43155




                                         IT IS SO ORDERED, this ____day of September, 2017.


                                                    ___________________________________
                                                               Leonard P. Stark, Chief Judge




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